                                       United States Bankruptcy Court
                                      Western District of Washington
In re:                                                                                  Case No. 11-19450-TWD
Nickolas Thompson                                                                       Chapter 7
Regina Thompson
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0981-2           User: suyingl                Page 1 of 3                   Date Rcvd: Dec 05, 2011
                               Form ID: b18                 Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 07, 2011.
db/jdb        +Nickolas Thompson,    Regina Thompson,    7614 NE Bothell Way #16,    Kenmore, WA 98028-3527
953392132     +Affinity Plus Credit Union,     Attn: Bankruptcy Department,    PO Box 64569,
                Saint Paul, MN 55164-0569
953392144   ++MARLIN MEDCLR INOVISION,     507 PRUDENTIAL ROAD,    HORSHAM PA 19044-2308
              (address filed with court: NCO Fin,      PO Box 13570,    Philadelphia, PA 19101)
953392146   ++MARLIN MEDCLR INOVISION,     507 PRUDENTIAL ROAD,    HORSHAM PA 19044-2308
              (address filed with court: NCO Financial,      PO Box 13570,    Philadelphia, PA 19101)
953392145   ++MARLIN MEDCLR INOVISION,     507 PRUDENTIAL ROAD,    HORSHAM PA 19044-2308
              (address filed with court: Nco Fin/55,      PO Box 13570,    Philadelphia, PA 19101)
953392142     +MNSCU SlSU,    1450 Energy Park D,    Saint Paul, MN 55108-5274
953392147     +NCO Financial,    PO Box 15636,    Wilmington, DE 19850-5636
953392143     +National Credit Adjustment,     PO Box 3023,   Hutchinson, KS 67504-3023
953392148     +Pinnacle Credit Svc,    PO Box 640,    Hopkins, MN 55343-0640
953392151     +Us Dept Of Education,    Attn: Borrowers Service Dept,     PO Box 5609,   Greenville, TX 75403-5609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr           +EDI: QRGBROWN.COM Dec 06 2011 03:03:00      Ronald G Brown,    999 3rd Ave Ste 2525,
               Seattle, WA 98104-4032
smg           EDI: WADEPREV.COM Dec 06 2011 03:03:00      State of Washington,    Department of Revenue,
               2101 4th Ave, Ste 1400,    Seattle, WA 98121-2300
953392133    +EDI: ACCE.COM Dec 06 2011 03:03:00      Asset Acceptance LLC,    Attn: Bankruptcy,    PO Box 2036,
               Warren, MI 48090-2036
953392134    +EDI: CAPITALONE.COM Dec 06 2011 03:03:00      Capital One, N.A.,    Capital One Bank (USA) N.A.,
               PO Box 30285,   Salt Lake City, UT 84130-0285
953392135    +EDI: CITICORP.COM Dec 06 2011 03:03:00      Citgo Oil / Citibank,    Attn: Bankruptcy,
               PO Box 20507,   Kansas City, MO 64195-0507
953392136    +EDI: CITICORP.COM Dec 06 2011 03:03:00      Citi-BP Oil,    PO Box 6497,
               Sioux Falls, SD 57117-6497
953392137    +EDI: CITICORP.COM Dec 06 2011 03:03:00      Citibank,    Attn.: Centralized Bankruptcy,
               PO Box 20507,   Kansas City, MO 64195-0507
953392139     EDI: IRS.COM Dec 06 2011 03:03:00      Internal Revenue Service,    PO BOX 7346,
               PHILADELPHIA, PA 19101-7346
953392140    +EDI: LTDFINANCIAL.COM Dec 06 2011 03:03:00      Ltd Financial Svcs LP,    7322 Southwest Fwy Ste 1,
               Houston, TX 77074-2010
953392141    +EDI: MID8.COM Dec 06 2011 03:03:00      Midland Credit Management,    PO Box 939019,
               San Diego, CA 92193-9019
953392149    +EDI: PHINRJMA.COM Dec 06 2011 03:03:00      RJM Acquision LLC,    575 Underhill Blvd Ste 2,
               Syosset, NY 11791-3426
953392150    +EDI: WTRRNBANK.COM Dec 06 2011 03:03:00      Target Credit Card,    C/O Financial & Retail Services,
               Mailstop BT P.O. Box 9475,     Minneapolis, MN 55440-9475
953392152    +EDI: AFNIVZWIRE.COM Dec 06 2011 03:03:00      Verizon,    Verizon Wireless Department/Attn: Bankru,
               PO Box 3397,   Bloomington, IL 61702-3397
953392153    +EDI: ZENITHACQ.COM Dec 06 2011 03:03:00      Zenith Acquisition,    220 John Glenn Dr # 1,
               Amherst, NY 14228-2228
                                                                                               TOTAL: 14

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
953392138    ##+Firstmark,   2101 Wooddale Dr,   Saint Paul, MN 55125-4442
953392153    ##+Zenith Acquisition,   220 John Glenn Dr # 1,   Amherst, NY 14228-2228
                                                                                               TOTALS: 0, * 0, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.     Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.




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 District/off: 0981-2                  User: suyingl                      Page 2 of 3                          Date Rcvd: Dec 05, 2011
                                       Form ID: b18                       Total Noticed: 23


               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Dec 07, 2011                                       Signature:




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                             Form ID: b18                 Total Noticed: 23


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 5, 2011 at the address(es) listed below:
              Christina Latta Henry   on behalf of Debtor Nickolas Thompson chenry@seattledebtlaw.com,
               ign@seattledebtlaw.com;awong@seattledebtlaw.com;jharris@seattledebtlaw.com
              Ronald G Brown   rgblaw@nwlink.com, rgbrown@ecf.epiqsystems.com
              United States Trustee   USTPRegion18.SE.ECF@usdoj.gov
                                                                                            TOTAL: 3




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B18 (Official Form 18) (12/07)

                                  United States Bankruptcy Court
                                        Western District of Washington
                                         700 Stewart St, Room 6301
                                             Seattle, WA 98101
                                              Case No. 11−19450−TWD
                                                     Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Nickolas Thompson                                         Regina Thompson
   7614 NE Bothell Way #16                                   7614 NE Bothell Way #16
   Kenmore, WA 98028                                         Kenmore, WA 98028
Social Security/Individual Taxpayer ID No.:
   xxx−xx−9253                                              xxx−xx−2127
Employer Tax ID/Other nos.:



                                         DISCHARGE OF DEBTOR




The Debtor(s) filed a Chapter 7 case on August 9, 2011. It appearing that the Debtor is entitled to a discharge,

IT IS ORDERED:
The Debtor is granted a discharge under 11 U.S.C. § 727.



                                                            BY THE COURT

Dated: December 5, 2011                                     Timothy W Dore
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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B18 (Official Form 18) (12/07)


                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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